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Report of the Consent Decree Monitor
For the New Orleans Police Department Consent Decree
Covering the Third and Fourth Quarters of 2016
Released June 19, 2017




Office of the Consent Decree Monitor
New Orleans, Louisiana
Sheppard Mullin Richter & Hampton, LLP
Appointed By Order Of The U.S. District Court For The Eastern District Of Louisiana
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                                    WHAT’S IN THIS REPORT?
                                                  WHAT WE DID THIS PERIOD
                                •    The Monitoring Team continued to review and approve policies, review
                                     Body Worn Camera videos, and evaluate uses of force. This period, we
                                     also spent significant time focusing on the Police Academy, including
                                     recruit and in-service training. We also conducting the second biennial
                                     Community Survey required by the Consent Decree. We surveyed the
                                     community, police officers, and detainees. In the area of Use of Force, we
                                     completed a comprehensive Use of Force analysis, completed a
                                     comparison of historic Use of Force data to more recent Use of Force
                                     data, and performed a multi-pronged evaluation of the integrity of
   Office of the                     NOPD’s Use of Force data.
  Consent Decree                                           WHAT WE FOUND
     Monitor                    •    The data reflect continued NOPD improvement in the area of uses of
                                     force.
                                •    NOPD vastly improved its custodial interrogation, photographic lineup,
                                     and supervisory processes.
                                •    NOPD needs to provide its supervisors with additional training on its new
                                     Early Warning System, called Insight, to realize the full benefits the
                                     system offers.
                                •    While the Academy continues to make progress, the Monitoring Team
    June 19, 2017                    continues to be concerned with the slow pace of full reform.
                                •    As noted in a prior report, we identified significant problems in the
                                     Department’s recruit evaluation process, however, our more recent follow
                                     up audit showed dramatic improvement in this area.

                                                  NEXT PERIOD’S ACTIVITIES
                                •    Continue to focus closely on all aspects of the Academy, including
                                     continuing to provide Technical Assistance on the development of lesson
                                     plans.
                                •    Conduct a follow-up audit on the way NOPD’s PIB handles citizen
                                     complaints.
                                •    Continue the ongoing follow-up BWC audit focusing on ensuring patrol
                                     officers are performing their duties in a professional, respectful, bias-free,
                                     and compliant manner.
                                •    Continue reviewing all significant uses of force.
                                •    Continue the Team’s ongoing review of Stop, Search, and Arrest data.
                                •    Perform multiple other audits and reviews, and provide technical
                                     assistance, as necessary.




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I.     CONSENT DECREE AUTHORITY

“The Monitor shall file with the Court quarterly written, public reports covering the reporting
period that shall include:

       a) A description of the work conducted by the Monitoring Team during the reporting
       period;

       b) A listing of each [Consent Decree] requirement indicating which requirements have
       been: (1) incorporated into implemented policy; (2) the subject of sufficient training for
       all relevant NOPD officers and employees; (3) reviewed or audited by the Monitoring
       Team in determining whether they have been fully implemented in actual practice,
       including the date of the review or audit; and (4) found by the Monitoring Team to have
       been fully implemented in practice;

       c) The methodology and specific findings for each audit or review conducted, redacted as
       necessary for privacy concerns. An unredacted version shall be filed under seal with the
       Court and provided to the Parties. The underlying data for each audit or review shall not
       be publicly available but shall be retained by the Monitoring Team and provided to either
       or both Parties upon request;

       d) For any requirements that were reviewed or audited and found not to have been fully
       implemented in practice, the Monitor’s recommendations regarding necessary steps to
       achieve compliance;

       e) The methodology and specific findings for each outcome assessment conducted; and

       f) A projection of the work to be completed during the upcoming reporting period and
       any anticipated challenges or concerns related to implementation of the [Consent
       Decree].”

                                                                               Consent Decree Paragraph 457




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II.     NOTES

“The Monitor shall be subject to the supervision and orders of the [United States District Court
for the Eastern District of Louisiana], consistent with [the Consent Decree]. The Monitoring
Team shall only have the duties, responsibilities, and authority conferred by [the Consent
Decree]. The Monitoring Team shall not, and is not intended to, replace or assume the role and
duties of the City and NOPD, including the Superintendent.”

                                                                               Consent Decree Paragraph 455




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IV.     GLOSSARY OF ACRONYMS

“ASU”         Administrative Services Unit
“AUSA”        Assistant United States Attorney
“AVL”         Automatic Vehicle Locator
“BWC”         Body Worn Cameras
“CIT”         Crisis Intervention Team
“CCMS”        Criminal Case Management System
“CD”          Consent Decree
“CIT”         Crisis Intervention Team
“CODIS”       Combined DNA Index System
“ComStat”     Computer Statistics
“COCO”        Community Coordinating [sergeants]
“CPI”         California Psychological Inventory
“CSC”         Civil Service Commission
“CUC”         Citizens United for Change
“DA”          District Attorney
“DI-1”        Disciplinary Investigation Form
“DOJ”         Department of Justice
“DV”          Domestic Violence
“DVU”         Domestic Violence Unit
“ECW”         Electronic Control Weapon
“EPIC”        Ethical Policing is Courageous (NOPD peer intervention program)
“EWS”         Early Warning System
“FBI”         Federal Bureau of Investigation
“FIT”         Force Investigation Team
“FOB”         Field Operations Bureau
“FTO”         Field Training Officer
“IACP”        International Association of Chiefs of Police
“ICO”         Integrity Control Officers
“IPM”         Independent Police Monitor
“KSA”         Knowledge, Skill and Ability
“LEP”         Limited English Proficiency
“LGBT”        Lesbian, Gay, Bi-sexual, and Transgender
“MAX”         Management Analysis for Xcellence
“MMPT”        Minnesota Multiphasic Personality Inventory
“MOU”         Memorandum of Understanding

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“NNDDA”    National Narcotics Detection Dog Association
“NOFJC”    New Orleans Family Justice Center
“NOPD”     New Orleans Police Department
“NPCA”     National Police Canine Association
“OCDM”     Office of Consent Decree Monitor
“OIG”      Office of Inspector General
“OPSE”     Office of Public Secondary Employment
“PIB”      Public Integrity Bureau
“POST”     Police Officer Standards Training Counsel
“PsyQ”     Psychological History Questionnaire
“QOL”      Quality of Life [officers]
“RFP”      Request for Proposal
“SA”       Sexual Assault
“SART”     Sexual Assault Response Team
“SOD”      Special Operations Division
“SRC”      Survey Research Center
“SUNO”     Southern University of New Orleans
“SVS”      Special Victims Section
“UNO”      University of New Orleans
“USAO”     United States Attorney’s Office for the Eastern District of New Orleans
“VAW”      Violence Against Women




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V.     INTRODUCTION TO QUARTERLY REPORT

As the Monitoring Team reported at the February public court hearing, NOPD continues to make
significant progress in most every area of the Consent Decree. While the Department
experienced a recent set-back in one area (recruit vetting), which was the subject of a Special
Report issued by the Monitoring Team on January 18, 2017, other areas continue to move
forward with notable results. Among NOPD’s accomplishments to date are the following:

       •      Establishment of an effective Use of Force Review Board.

       •      Creation of 66 new policies incorporating national best practices.

       •      Development of a Crisis Intervention Team program, including the training of all
              NOPD officers and supervisors and the special training of 144 certified CIT
              officers.

       •      Establishment of a functioning Officer Assistance and Support program.

       •      Establishment of a specially trained Force Investigations Team within the
              NOPD’s Public Integrity Bureau.

       •      A wholesale restructuring of the way the Department investigates crimes against
              women and a remarkable turnaround of the Departments Special Victim’s Section.

       •      Development of a first-in-the-nation department-wide peer intervention program
              called Ethical Policing Is Courageous (“EPIC”).

       •      Development of an effective Office of Police Secondary Employment (“OPSE”)
              to ensure officer details are handled fairly and effectively.

       •      Significant improvement within the NOPD Police Academy.

       •      Significant improvement in the way the Department handles Custodial
              Interrogations and Photographic Lineups.

       •      Creation of a new supervisory tool called MAX (for Management Analytics for
              Excellence), which makes a sizable volume of data available to police managers
              as well as to the public.

       •      Creation of an excellent officer-involved collision reporting system and database.

       •      Creation of an excellent police vehicle pursuit reporting system and database.

       •      Creation of an excellent ECW (Taser®) reporting and data collection system.

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       •       Creation of multiple new public datasets that make sizable volumes of data
               (including calls for service data and use of force data) available to the public.

Notwithstanding these notable accomplishments – and they are notable – other areas continue to
require additional NOPD attention. For example, while the Monitoring Team has recognized a
significant improvement in the professionalism and efficiency of the Academy, too often
Academy instructors still are teaching without approved lesson plans and/or without approved
course materials. Similarly, while the Monitoring Team has seen significant progress made in
the development of a meaningful Community Engagement/Community Policing program, the
Department still has a long way to go before it can be rolled out effectively. And, as noted in
prior reports, while the Department has made progress promoting the supervision of its officers,
such supervision still is not at the “close and effective” level contemplated by the Consent
Decree. Also, as noted in the Monitoring Team’s recent Special Report, the Department needs to
reform the process through which it evaluates and selects new recruits.

Another area that requires significant additional attention by the Department is the
implementation and use of Insight, its new Early Warning System. Insight, once fully rolled out,
will provide the Department with a critical management and supervision tool by aggregating a
huge amount of data so managers can identify patterns and trends that otherwise may remain
invisible. For example, Insight will aggregate data from a number of the Department’s current
systems, including Electronic Police Reports (EPRs), Field Interview Cards (FIC), data from the
Department existing discipline database (IAPro), CAD, payroll data (ADP), OPDA, training data
(Power DMS), and more. These data will be used to identify risk areas, including officers in need
of extra attention. The Monitoring Team has been observing the Department’s implementation
of Insight and has found the Department’s current Insight training insufficient. (We also have
noted the absence of some important information within the Insight system, but we acknowledge
NOPD is working to remedy those gaps.) NOPD’s current training focuses more on how to use
the Insight software, not how to use the Insight data. This is an important distinction. It is one
thing to know how to turn on the system, but quite another to know how to access and how to
use the critical data in the system. Our conversations with supervisors demonstrate few
supervisors have a working knowledge of how to take full advantage of the benefits Insight has
to offer.

While these are important issues that must be remedied, no one should mistake the need for
further improvement in some areas with a lack of progress in other areas. As noted above,
NOPD has made significant improvement in almost every areas of the Consent Decree, and it
deserves credit for doing so. Such credit should be given not only to the Department’s current
management team, led by Superintendent Harrison, but to the hundreds of officers who have
embraced reform and are working day in and day out to transform NOPD into a world-class
department.

With the implementation of NOPD’s strong structural reforms, of course, the Department now
must focus its attention on whether those reforms are manifesting themselves in more effective,
less biased, and more respectful policing on the streets. A strong Stop & Search policy, for

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example, is only effective if officers adhere to it. Better Use of Force training is only effective if
officers learn from it. And expanded supervisory tools are only meaningful if supervisors use
them. Accordingly, the Monitoring Team is now expanding our monitoring activities to give
more focus to “outcome assessments.” Paragraph 448 of the Consent Decree specifically
requires the Monitoring Team to “conduct assessments to measure whether implementation of
this Agreement is resulting in constitutional policing.” While the Monitoring Team has been
working closely with the NOPD Compliance Bureau to conduct such assessments for several
years now, the results of those assessments now are more important than ever.

Finally, an important word should be said here about the occasional set-backs NOPD experiences
during its march toward full Consent Decree compliance. Notwithstanding the Department’s
significant progress, the Monitoring Team still sees officers occasionally making mistakes and/or
engaging in wrongdoing. The recent arrest of an Academy recruit for domestic abuse provides
just one such example, but others exist. NOPD observers and members of the community must
keep in mind, however, that no police department is perfect – just like no member of the
community is perfect. And while the Monitoring Team believes in holding the NOPD and its
officers to a very high standard, we do not believe any police department should be held to an
impossibly high standard of perfection. Police officers are human and are bound to make
mistakes, and police departments are bound to have bad apples among their officers. What we
all should expect, however, is that when mistakes are made they are openly identified, honestly
evaluated, and meaningful remedied. And when bad apples are discovered, they are dealt with
fairly, seriously, and swiftly.

We offer this distinction between a flawed department and flawed individuals because it is an
important one. Just as we cannot let the Department’s progress blind us to areas in need of
further reform, we likewise cannot let the mistakes or misconduct of some blind ourselves to the
progress the Department has made in so many areas.




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VI.     SUMMARY OF MONITORING ACTIVITIES

The Monitoring Team spent significant time during the period covered by this Quarterly Report
reviewing, auditing, and evaluating multiple areas of Consent Decree compliance. Among other
things, the Monitoring Team:

        •     Reviewed and analyzed extensive Use of Force data and published Special Report
              focusing on Use of Force in May 2017.

        •     Conducted targeted audits to ensure NOPD officers are consistently reporting
              Uses of Force.

        •     At the direction of the Court, provided significant, hands-on technical assistance
              to the NOPD Academy, including supporting the development of curricula, lesson
              plans, and presentation materials.

        •     Observed multiple recruit and in-service training courses.

        •     Conducted multiple district-by-district audits of NOPD’s compliance with its
              obligations relating to Photographic Line-ups, Custodial Interrogations, Detective
              Selection, Audio/Video Recordings, and Supervision.

        •     Developed, planned, and conducted a follow-up, in-person Community Survey
              that covered police officers, detainees, and community members. (The
              community survey involved house-to-house surveys of community members
              throughout New Orleans.)

        •     Conducted regular audits of NOPD’s Special Victims Section, focusing on,
              among other things, NOPD’s compliance with its obligations relating to sexual
              assault and domestic violence investigations.

        •     Reviewed extensive Body Worn Camera video recordings to evaluate camera
              usage and the conduct of the officers recorded.

        •     Separately reviewed BWC video recordings to evaluate NOPD compliance with
              its Bias-Free Policing obligations, including the way the Department handles
              stops, searches, and arrests.

        •     Oversaw the development of the Department’s Early Warning System, called
              Insight.

        •     Provided Technical Assistance to NOPD’s Public Integrity Bureau’s Force
              Investigation Team and administrative investigations section.


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       •       Conducted a targeted audit of NOPD’s recruit selection practices, which led to a
               special report published earlier this year.

       •       Oversaw the development of a new NOPD Community Policing/Community
               Engagement initiative, and provided Technical Assistance to help facilitate the
               prompt implementation of the new program.

       •       Provided pro bono technical assistance to the development and implementation of
               the Department’s “EPIC” peer intervention program.

In addition to the foregoing, the Monitoring Team also spent significant time this period, as it
always does, meeting with and listening to civilians, community leaders, and officers regarding
the police department, the Consent Decree, and police reform generally. While we cannot
recount all the questions, suggestions, and concerns we have fielded over these months, the
following questions are illustrative.

       Question/Comment. What is the Monitoring Team doing about the apparent rise in
crime in New Orleans?

       Monitoring Team Response.

        The Monitoring Team’s role is strictly constrained by the Consent Decree. Our job is to
serve as the eyes and ears of the U.S. District Court (and the public), and report to the public
regarding NOPD’s compliance with its obligations under the Consent Decree. While we are
permitted to provide Technical Assistance to the NOPD when requested to do so, and we have
done so many times, the Consent Decree explicitly states our job is not to take the place of the
NOPD. Thus, the Monitoring Team leaves fighting crime to the police department. Our job
simply is to ensure the Department does so constitutionally.

        That being said, the Monitoring Team has identified several actions we can take within
our authority that could help NOPD do its job more efficiently. For example, the Monitoring
Team provides Technical Assistance in a number of areas to help NOPD become a more
effective Department. We pushed for and participated in an internal “Burden Reduction
Working Group,” designed to identify ways to provide officers more time to focus on their core
policing function (i.e., answering calls for service, engaging with the community, fighting crime,
etc.). The Working Group identified a number of actions, which NOPD is implementing, that
will have the effect of putting more officers on the streets. More recently, at the request of
NOPD, the Monitoring Team has engaged with a new internal working group to identify
additional opportunities for efficiencies. While the Monitoring Team has only limited authority,
by working closely with NOPD, DOJ, the community, and the Court, we have helped NOPD
identify a number of innovative ways it can better meet the needs of the community.

       Finally, it is worth noting here that while there are multiple factors that contribute to
crime rates in any given city (e.g., unemployment, wages, education, despair, the availability of

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social services, the efficiency of the local court system, the availability of beds for those in need
of mental health services, etc.), the principles embraced by the Consent Decree are not among
them. The Consent Decree calls for clear and understandable policies; practical and memorable
training; close and effective supervision; respectful and unbiased policing; and fair, effective,
and unbiased discipline. None of these principles contributes to crime.1

       Question/Comment. Will the change in leadership within the U.S. Department of
Justice reduce the Monitoring Team’s focus on NOPD?

        Monitoring Team Response. No. First, the Monitoring Team reports to U.S. District
Court Judge Susie Morgan, not to the Department of Justice. The change in DOJ leadership has
no impact on the job of the Monitoring Team. Second, the Consent Decree is under the
jurisdiction of the U.S. District Court, not the DOJ. Judge Morgan has made clear she is fully
committed to ensuring the reforms set forth in the Consent Decree are fully implemented. Third,
notwithstanding the change in DOJ leadership, the Monitoring Team has not seen any reduced
interest or attention to the Consent Decree by the DOJ team assigned to this matter. As far as we
can tell, the Department of Justice remains fully committed to the process of police reform in
New Orleans.

       Question/Comment. Is there “de-policing” in New Orleans?

        Monitoring Team Response. There has been a lot of speculation across the country the
past few years about whether the extensive media coverage of recent police use of force
incidents in Ferguson, Baltimore, and other cities has caused police officers to be less proactive
in performing their duties. Often called the “Ferguson effect,” the concern expressed by some is
that officers “are conscious of the negative publicity surrounding their profession, understand
that their actions could be recorded by the public at any given time, and become less willing to
do their job as a way to avoid being accused of racial profiling or excessive force.”2 The result,
some argue, is “de-policing.”

        Experts disagree on the actual existence of the Ferguson effect and, if it exists at all, its
actual impact on policing. This disagreement, however, does not stop many from pointing to de-
policing as a significant contributor to crime in many major cities, usually without any evidence
to support the connection. While the existence of and potential causes of de-policing will
continue to be studied by experts, suffice it to say the Monitoring Team acknowledges there


1
       It is interesting to note that the overall crime rate in the country’s 30 largest cities stayed relatively steady
       from 2015 to 2016, rising by just 0.3%. See Brennan Center’s Crime in 2016: Updated Analysis. The
       violent crime rate, however, has significantly increased in several of the country’s major cities. From 2015
       to 2016, for example, the violent crime rates rose by 17.7% in Chicago, 10.6% in Los Angeles, 23.5% in
       San Antonio, 13.4% in Charlotte, 10.6% in Baltimore, 11.8% in San Jose, and 11.1% in Dallas. None of
       these Cities were under a Consent Decree in 2015 or 2016.
2      See Wolfe, Scott, The Alleged “Ferguson Effect” and Police Willingness to Engage in Community
       Partnership, LAW AND HUMAN BEHAVIOR, Vol. 40 (2016).

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exists at least a perception of de-policing among many in the United States, including among
some in New Orleans.

        At a recent meeting of several New Orleans business leaders, for example, the question
was asked of the Monitoring Team whether NOPD may be experiencing de-policing as a result
of the “Ferguson effect.” A second questioner asked whether the Consent Decree might be
contributing to de-policing. While the Monitoring Team has heard anecdotes of de-policing in
New Orleans over the past few years, we have not seen credible data evidencing actual de-
policing. Nonetheless, the Monitoring Team is in the process of looking at additional data to
evaluate whether NOPD officers are, in fact, being less proactive than they should be. With
respect to the cause of any such diminution in proactivity, however, we are confident in saying
the Consent Decree is not it. The Consent Decree, drafted collectively by the City, the NOPD,
and the U.S. Department of Justice, promotes constitutional policing by calling for clear policies
that give officers meaningful guidance; well-trained officers who have respect for all members of
the community; robust training that incorporates procedural justice, respect for all members of
the community, and constitutional standards; committed and competent supervisors; thorough
and competent investigations into police use of force and allegations of misconduct; and strong
partnerships with the community. All of these tools lie at the core of the Consent Decree, and
none should give any thoughtful police officer pause about performing his/her duties.

         The Monitoring Team speaks regularly with NOPD officers about policing in general,
policing in New Orleans, and the Consent Decree. One officer’s description of the Consent
Decree is worth sharing here because it reflects what we hear from many officers: “If you do
your job, the Consent Decree won’t bother you. It just puts on paper what we all should be
doing anyway. Plus it actually helped us fix some things that needed to be fixed.” We think that
is a fair and insightful understanding.

      Question/Comment. Does the Monitoring Team meet directly with victims of
domestic violence and sexual assault to make victim-focused recommendations to the
NOPD?

       Monitoring Team Response. The Monitoring Team meets regularly with victims’
advocate groups, including members of the New Orleans Sexual Assault Response Team, the
New Orleans Family Justice Center, the Orleans Parish District Attorney’s Office, and other
groups. The Monitoring Team also has met with individual victims in the past. Following this
question from an attendee at our most recent Quarterly Public Meeting, the Monitoring Team
reached out to Family Justice Center Executive Director Mary Claire Landry and SART
Chairperson Amanda Tonkovich to discuss the possibility of receiving more insight and
feedback from victims. As a result of these conversations, the Family Justice Center now will
make it a practice to advise victims they can contact the Monitoring Team (as well as the PIB
and the IPM) directly should they have any concerns regarding the way NOPD handles their
cases. Further, the Monitoring Team reached out to NOPD Commander Doug Eckard who is
responsible for the Department’s Special Victims Section to ensure NOPD brings victim
complaints to the attention of the Monitoring Team in a timely fashion.

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       Question/Comment. Why can NOPD officers no longer engage in high speed car
chases?

        Monitoring Team Response. Thanks to Hollywood, many people have come to associate
high speed car chases with “real policing.” But Hollywood rarely shows the way high speed
chases typically start and end in real life. Contrary to Hollywood’s depiction, the majority of
police pursuits involve a stop for nothing more than a traffic violation and all too often end with
innocent civilians and/or the officers seriously injured or killed. In fact, according to experts,
one person dies every day as a result of a police pursuit; and, on average, from 1994 through
1998, “one law enforcement officer was killed every 11 weeks in a pursuit. . . .” Further, “1 out
of every 100 high-speed pursuits results in a fatality.”3

In light of these statistics, enlightened departments years ago began instituting more common-
sense vehicle pursuit policies. NOPD implemented a new vehicle pursuit policy in December
2015.4 Among other things, NOPD’s policy permits vehicle pursuits only where the officer has
“a reasonable suspicion that a fleeing suspect has committed or has attempted to commit a crime
of violence . . . and the escape of the subject would pose an imminent danger of death or serious
bodily injury to the officer or to another person.”5 The policy further requires that officers
receive “supervisory approval prior to initiating the pursuit.” The policy expressly prohibits
pursuits “for property offenses, misdemeanor offenses, traffic, or civil infractions.”

NOPD’s vehicle pursuit policy has been approved by the U.S. Department of Justice and by the
Monitoring Team, and reflects a best practice among reform-minded departments. It was
designed to protect civilian and officer lives while affording the police department the flexibility
it needs to engage in a pursuit where necessary. Studies have shown that a restrictive vehicle
pursuit policy like that employed by NOPD does not hinder a police department’s ability to fight
crime. Further, NOPD’s policy could generate additional advantages as well. At least some
experts, for example, contend that the adrenaline rush of a high speed pursuits increases the
likelihood that excessive force will be used at the end of the pursuit.6

In short, while we recognize some citizens and officers will not be convinced by the data and
will remain of the view that “real police” should be free to engage in high speed vehicle pursuits,
NOPD should be commended for its development and implementation of a sensible, safe, and
effective vehicle pursuit policy.

                                                      *         *         *

3
       Schultz, David, Hudak, Ed, and Alpert, Geoff, Evidence-Based Decisions on Police Pursuits, FBI Law
       Enforcement Bulletin (2010).
4
       See http://nola.gov/getattachment/NOPD/NOPD-Consent-Decree/Chapter-41-5-Vehicle-Pursuits.pdf/.
5
       NOPD Policy 41.5.
6
       See, e.g., Becknell, Conon et al., “Policy Restrictiveness and Police Pursuits,” International Journal of
       Police Strategies and Management , Vol. 22, No. 1 (1999) (citing Alpert, Geoff, et al.).

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As we have done since our appointment, the Monitoring Team also spent significant time
meeting with, and listening to, the parties to the Consent Decree. The Monitoring Team is in
regular contact with the City, the NOPD, and the DOJ. We also continue to meet regularly with
the NOPD Compliance Bureau, the PIB, the NOLA OIG, and the members of the Independent
Police Monitor’s team, as well as community advocacy groups like SART and the New Orleans
Family Justice Center.




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VII.   POLICIES AND TRAINING GENERALLY

The process implemented by the NOPD, the DOJ, and the Monitoring Team in 2014 to facilitate
the review, revision, and approval of Department policies continues to be effective. NOPD
completed numerous additional policies these past two quarters, which supplement a large
number of policies previously approved by DOJ and the Monitoring Team. To date, the
following policies have been approved:


   •   Search and Seizure (Custody                                 •    Insight
       Searches rolled into this policy)                           •    Early Intervention Unit
   •   Terry Stops                                                 •    Rule 5-Restricted Activities
   •   Search Warrant Content, Forms and                           •    BWC Inadvertent Misuse and Non-
       Reviews                                                          use
   •   Public Video Recording and                                  •    In-Car Camera
       Photographing Police Activity                               •    Body-Worn Camera
   •   Use of Force                                                •    Foot Pursuits
   •   Handcuffing and Restraints                                  •    Vehicle Pursuits
   •   Control Devices and Techniques                              •    Immigration Status
   •   Force Investigative Team (FIT)                              •    Bias-Free Policing
   •   Reporting Use of Force                                      •    Canines
   •   Use of Force Review Boards                                  •    Crisis Intervention
   •   Firearms                                                    •    Crisis Transportation Service
   •   Authorized Ammunition                                       •    Interacting with Homeless persons
   •   Firearms Training Qualification and                         •    Sexual Assault (and Sex Crimes
       Requalification                                                  Operating Guidelines)
   •   Conducted Electrical Weapon                                 •    Domestic Violence
   •   Arrests/Arrest Warrants/Wanted                              •    Custodial Interrogations
       Persons                                                     •    Disciplinary Hearings/Penalties
   •   Miranda Rights                                              •    Misconduct Compliant Investigator
   •   Audits and Reviews                                               Responsibilities
   •   Audit and Review Unit Standard                              •    Negotiated Settlement
       Operating Guidelines                                        •    Victim and Witness Assistance
   •   Commendations and Awards                                    •    Prisoner Transportation
   •   Secondary Employment                                        •    Hate Crimes
   •   Mediation Settlement
   •   Adjudication of Misconduct
   •   Disciplinary Matrix/Penalty
       Schedule
   •   Promotions and Promotion
       Committee
   •   Employee Counseling

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The Monitoring Team and the U.S. Department of Justice expect to approve additional policies
over the coming months.




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VIII. USE OF FORCE

Since the outset of the Consent Decree, the Monitoring Team consistently has reviewed all
serious uses of force by NOPD officers. Additionally, the Monitoring Team regularly conducts
broader Use of Force audits to ensure uses of force are being accurately reported, meaningfully
reviewed by supervisors, and, where necessary, fully evaluated by NOPD PIB. On May 5, 2017,
the Monitoring Team published a Special Report focusing on NOPD Use of Force. The Report
included the following analyses:

           •   A comparative analysis of uses of force from 2012 through November 2016.
               The Monitoring Team analyzed a sizable amount of data. The trends that emerge
               from those data are important in evaluating NOPD’s progress under the Consent
               Decree.

           •   Multiple analyses aimed at assessing the integrity of NOPD’s use of force data.
               These analyses are important to determine whether NOPD’s use of force data are
               reliable. Obviously, a data analysis is only as good as the integrity of the
               underlying data. Our analyses in this area give us strong comfort that NOPD’s
               current and recent use of force data are reliable.

           •   A preliminary analysis of 2016 uses of force. Because our most recent
               comprehensive Use of Force audit was conducted over the course of the last two
               quarters of 2016 and used data from 2015, the Monitoring Team supplemented
               that Use of Force audit with more current data from 2016.

           •   A discussion of specific 2016 uses of force. The Monitoring Team reviewed all
               serious uses of force by the NOPD. Our prior report described several illustrative
               uses of force analyzed by the Monitoring Team.

           •   A comprehensive historic analysis of 2015 uses of force. This analysis covered
               all material elements of uses of force, including NOPD’s investigation into those
               uses of force.

The Special Report is available at www.consentdecreemonitor.com.




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IX.     CRISIS INTERVENTION TEAM

Section IV of the Consent Decree requires NOPD to “minimize the necessity for the use of force
against individuals in crisis due to mental illness or a diagnosed behavioral disorder.” To
achieve this outcome, NOPD agreed to create a properly trained Crisis Intervention Team
(“CIT”).

The NOPD began actively developing its CIT program (including a policy, an Academy
curriculum, a training program, and training materials) in August 2015. The first class of 24
officers graduated on September 18, 2015. By May 2016, the NOPD had trained its third class
of CIT officers, bringing the total number of trained CIT officers to sixty-nine. NOPD’s most
recent graduating class, the fourth, brought another 30 officers into the CIT program on
September 6, 2016.

According to NOPD’s records, as of the end of February 2017, the Department had provided
basic training to all new officers and specialty training to 144 officers. In addition to these 144
CIT officers, the Department has provided special training to six social workers, two crisis
transportation service volunteers, and one reserve officer.

The Monitoring Team has seen CIT officers in action and has spoken to numerous officers and
community members regarding the CIT program. The results, so far, have been positive. NOPD
officers and community members uniformly praise the CIT program. The Monitoring Team,
however, must reserve final judgment on the effectiveness of the program until an in-depth
outcome assessment/analysis is conducted.




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X.       CUSTODIAL INTERROGATIONS

The Monitoring Team conducted a periodic Custodial Interrogation audit of Districts 3, 6, and
SVS during the week of January 3, 2017 and of Districts 4, 5, 7, and SOD during the week of
January 30, 2017. In general, the districts showed great improvement over prior audits. A
summary of our findings follows.

         A.      Paragraph 163

Paragraph 163 provides that “[o]fficers shall not use physical violence or make threats to carry
out harm to the individual or the individual’s family during custodial interrogations.” The
Monitoring Team reviewed 36 of 63 recordings. Those reviewed did not contain any indication
of physical violence or threat of physical violence.


 District District District District District
                                                                                              SVS          SOD
    3        4        5        6        7
     Compliant

                     Compliant

                                       Compliant

                                                          Compliant

                                                                            Compliant

                                                                                               Compliant

                                                                                                           Compliant
         B.      Paragraph 164

Paragraph 164 provides that “all custodial interrogations that take place in a police facility, and
all interrogations that involve suspected homicides or sexual assaults, shall be video and audio
recorded.” The paragraph goes on to provide as follows: “[a]ll recorded custodial interrogations
will be recorded in their entirety. NOPD rejects the concept of a pre-interview and prohibits any
decision not to record any portion of the interrogation based on such categorization. The
recording equipment shall not be turned off unless the suspect states that he/she does not want
the interview to be recorded. If the suspect requests that he/she does not want the interview to be
recorded, the interviewer will record the subject making this request and shall document this
request in the case report.” NOPD demonstrated full compliance in the districts we audited this
period.

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 District District District District District
                                                                                              SVS          SOD
    3        4        5        6        7
     Compliant

                     Compliant

                                       Compliant

                                                          Compliant

                                                                            Compliant

                                                                                               Compliant

                                                                                                           Compliant
         C.      Paragraph 165

Paragraph 165 provides that, “[i]f the interrogation is not able to be video and audio recorded
because of equipment failure or malfunction, detectives shall record the interrogation by means
of a digital or cassette recorder. Any equipment failure shall be explained and documented in the
case report, the case file, and in a memo to the Deputy Chief of the Investigation & Support
Bureau.” NOPD demonstrated full compliance in the districts we audited this period.


 District District District District District
                                                                                              SVS          SOD
    3        4        5        6        7
     Compliant

                     Compliant

                                       Compliant

                                                          Compliant

                                                                            Compliant

                                                                                               Compliant

                                                                                                           Compliant




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         D.      Paragraph 166

Paragraph 166 of the Consent Decree requires officer to “maintain in the case file their notes
taken during interviews and interrogations.” As reflected below, NOPD demonstrated full
compliance with this paragraph during this audit period.


 District District District District District
                                                                                              SVS          SOD
    3        4        5        6        7
     Compliant

                     Compliant

                                       Compliant

                                                          Compliant

                                                                            Compliant

                                                                                               Compliant

                                                                                                           Compliant
         E.      Paragraph 167

Paragraph 167 provides that “NOPD shall designate interview rooms for all Districts and
specialized units, and ensure that interview rooms are equipped with functioning audio and video
recording technology that allows for recording and maintenance of all phases of interrogations.”
Here again, NOPD demonstrated full compliance with these requirements during this audit
period.




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 District District District District District
                                                                                              SVS          SOD
    3        4        5        6        7
     Compliant

                     Compliant

                                       Compliant

                                                          Compliant

                                                                            Compliant

                                                                                               Compliant

                                                                                                           Compliant
         F.      Paragraph 168

Paragraph 168 provides that “NOPD shall use qualified interpreters for any interrogation of an
LEP individual, and Miranda warnings shall be provided to the subject in his or her primary
language.” Paragraph 168 further provides as follows: “[b]ecause of the dual role bilingual
NOPD employees may have when conducting an interrogation and simultaneously acting as an
interpreter, they should only be used as an interpreter during an interrogation if they have
identified themselves as officers or employees of the Department, are authorized as NOPD
interpreters, and are trained in using interpretation protocols consistent with best practices, as
required by this Agreement and NOPD’s language assistance policy and plan.” NOPD was
unable to demonstrate full compliance with paragraph 168 this period. While NOPD has
provided the names of authorized interpreters, the Department has yet to provide evidence of the
interpreters being trained in interpretation protocols.




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XI.         DETECTIVE SELECTION

The Monitoring Team audited Districts 3, 4, 5, 6, 7, SVS, and SOD this period to evaluate
NOPD’s compliance with the Detective Selection elements of the Consent Decree. NOPD
showed marked improvement over prior audits. The following sections summarize our findings.

            A.    Paragraph 169

Paragraph 169 of the Consent Decree requires NOPD to “post all detective openings throughout
the Department and shall revise eligibility criteria for detectives in Districts and specialized units
to require appropriate experience, writing samples, supervisor recommendations, and an
interview.” NOPD is nearly in full compliance with these requirements.



      D3           D4              D5               D6                D7             SOD SVS
      Compliant

                    Compliant

                                     Compliant

                                                      Compliant

                                                                       Compliant




                                                                                                          Compliant
                                                                                        Unknown



Two SOD detectives were assigned within the past six months, but SOD was unable to produce
documentation of the KSA process for the selection of these detectives. Likewise, SOD was
unable to produce KSA documentation for three detectives assigned to the Department’s Traffic
division.

            B.    Paragraph 170

Paragraph 170 requires NOPD to “develop and deliver at least 24 hours of formal training for
newly assigned detectives on interrogation procedures and methods.” The paragraph goes on to
provide that the detective training “shall include legal standards, ethics, the mechanics of
conducting effective and constitutional investigations, and causes for investigative failures and
false confessions[; and that] NOPD shall provide regular, and at least annual, in-service training
to all detectives on updates and changes to the law regarding interrogations and confessions.”
NOPD could not demonstrate full compliance with these requirements this audit period.

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   D3           D4               D5                D6                D7              SOD SVS

   Initial       Initial         Initial           Initial           Initial           Initial          Initial
  Training:     Training:       Training:         Training:         Training:         Training:        Training:
   Partial       COMP            COMP              COMP              COMP               UNK             COMP

  Training      Training        Training           Training         Training          Training         Training
  Updates:      Updates:        Updates:           Updates:         Updates:          Updates:         Updates:
   Partial       Partial         Partial            Partial          Partial            UNK             Partial




While NOPD developed and uses a lesson plan for new detective training, its lesson plan for in-
service refresher training still is in development. Further, the Monitoring Team continues to
come across detectives who have not yet been afforded the opportunity to attend new detective
training and/or refresher training. An updated in-service training program focusing on changes
to the law regarding interrogations and confessions is in the works, but has not been fully
developed.

While the Seventh District, like the other districts we audited, still has not achieved full
compliance with paragraph 170, the Monitoring Team would be remiss not to recognize the
impressive system developed by the Seventh District to track detective training. Other Districts
would be wise to emulate the Seventh in this regard.




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XII.         PHOTOGRAPHIC LINE-UPS

The Monitoring Team audited NOPD Districts in January and early February 2017 to assess
compliance with the Consent Decree requirements regarding Photographic Line-ups. We audited
Districts 3, 4, 5, 6, 7, SVS, and SOD. A summary of our findings follows.

             A.    Introduction

NOPD agreed “to ensure that photographic line-ups are conducted effectively and in accordance
with the rights secured or protected by the Constitution and laws of the United States, so as to
elicit accurate and reliable information.” NOPD continues to make strong progress in achieving
full Consent Decree compliance in this area.

             B.    District-By-District Summary

                   1.               Paragraph 171

Paragraph 171 provides that “[n]o officer who is involved in the investigation shall participate in
administering the photographic lineup.” Paragraph 171 provides further that “[t]he individual
who administers the lineup shall not have any knowledge as to which photograph depicts the
suspect in the investigation.” NOPD demonstrated full compliance with these requirements in
the districts we audited this period.


   3D               4D                    5D              6D                7D               SVS SOD
       Compliant


                        Compliant


                                           Compliant


                                                            Compliant


                                                                              Compliant


                                                                                                Compliant


                                                                                                              Compliant




                   2.               Paragraph 172

Paragraph 172 requires that, “before any lineup is administered, eyewitnesses shall be
admonished that the suspect might or might not be present in the lineup.” NOPD has made
terrific progress in this area, and each district audited this period was able to demonstrate full
compliance with the Consent Decree requirements.



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   3D            4D                    5D              6D                7D               SVS SOD
    Compliant


                     Compliant


                                        Compliant


                                                         Compliant


                                                                           Compliant


                                                                                             Compliant


                                                                                                             Compliant
                3.               Paragraph 173

Paragraph 173 provides that “NOPD agrees to select ‘filler’ photographs—those that do not
depict the suspect—of individuals who generally fit the witness’s description of the perpetrator.
When there is a limited or inadequate description of the perpetrator provided by the witness, or
when the description of the perpetrator differs significantly from the appearance of the suspect,
fillers should resemble the suspect in significant features.”


   3D            4D                    5D              6D                7D               SVS SOD
  Compliant


                     Compliant



                                      Compliant


                                                         Compliant



                                                                        Compliant


                                                                                          Compliant


                                                                                                           Compliant
   Partially




                                       Partially




                                                                         Partially


                                                                                           Partially


                                                                                                             Non



While NOPD continues to make progress in this area, some photo arrays continue to include
individuals who do not fairly resemble the suspected perpetrator. In our review of photo line-
ups, we identified multiple line-ups that included individuals who did not adequately resemble
the suspect. While we did not identify any intentional effort to use unlike filler photographs in
order to guide a witness to a certain individual, photographs that are materially different
nonetheless could have that unintended consequences. NOPD’s own training, conducted by DA
investigator (and former Deputy Chief) Kirk Bouyelas, emphasizes the importance of using filler
photographs that are as similar as possible, including facial features, facial hair, body markings,
and even clothing.


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                4.                Paragraph 174

Paragraph 174 provides that “NOPD agrees to keep a complete record of each display procedure
and results. The record shall include the time, date, location, identity of the viewing person,
photograph numbers, and name of the administrator of the line-up.”


   3D            4D                     5D             6D                7D               SVS SOD
    Compliant


                     Compliant


                                         Compliant


                                                         Compliant


                                                                           Compliant


                                                                                             Compliant



                                                                                                           Compliant
                                                                                                            Partially
The only reason SOD could not demonstrate full compliance with paragraph 174 was because
SOD failed to list photographic numbers on the line-ups in three of the four line-ups we reviewed
during this audit period.

                5.                Paragraph 175

Paragraph 175 provides that “NOPD agrees to document other information pertinent to the
display procedure, including any statements made by the viewing individual and identities of
other persons present during the procedure.”


   3D            4D                     5D             6D                7D               SVS SOD
                                                                                           Substantially
    Compliant



                      Compliant



                                         Compliant



                                                          Compliant



                                                                           Compliant



                                                                                            Compliant


                                                                                                             Compliant




The errors we identified during our SVS audit were relatively minor and easily remedied.


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                 6.             Paragraph 176

Paragraph 176 provides that, “[i]f a suspect selection is made, NOPD agrees to mark and
maintain as evidence the photographs used in the lineup, including a copy of the photo array if
one was used. It shall be kept as evidence until the final disposition of the case, at which time it
shall become a part of the permanent case file.


   3D             4D                  5D                6D                7D               SVS SOD
     Compliant


                        Compliant


                                         Compliant


                                                           Compliant


                                                                             Compliant


                                                                                              Compliant


                                                                                                            Compliant
Obviously, these results reflect an effective effort on the part of NOPD’s various districts to
work toward full and sustained Consent Decree compliance.

         C.      Note Regarding Single Photo “Line-ups”

Most NOPD Districts have opted to not enter single photo identifications on the photographic
line-up record. The only District entering single photos in the line-ups is NOPD’s Sixth District,
which we commend. The other districts contend such activities do not constitute “line-ups”
since photos are shown only to victims or witnesses when they know the identity of the subject.
The Monitoring Team, however, has seen instances where detectives presented a single photo
when a line-up should have been provided. Without entering the single photo “line-ups” into the
photographic line-up log, it makes it extremely difficult for supervisors (or the Monitoring
Team) to locate cases of single photos being presented in the field.




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XIII. POLICING FREE OF GENDER BIAS

Section IX of the Consent Decree requires NOPD, among other things, to “to respond to and
investigate reports of sexual assault and domestic violence professionally, effectively, and in a
manner free of gender-based bias, in accordance with the rights secured or protected by the
Constitution and laws of the United States.”

In February 2017, the Monitoring Team conducted an audit of Sexual Assault, Domestic
Violence and Child Abuse case files in the Special Victims Unit of the NOPD. The cases were
selected randomly from case files assigned to investigators in October, November, and
December 2016. In all cases the Monitoring Team found competent initial investigations and at
least one supplement in the case files. In cases where interviews were conducted, investigators
were empathetic and victim-centered while conducting victim and witness interviews. There
were several cases where the Monitoring Team believed a second supplement was necessary. In
those cases, the investigators actively were involved in the open cases and were prepared to
initiate a second supplement detailing actions taken since the initial follow-up investigation.

These audit findings are reflective of the many improvements the SVU has made over the past
two years. The consistency of detailed case files during our most recent audit indicates to the
Monitoring Team that there is more steadfast oversight by SVU supervisors and a more
systematic process by investigators to complete more in-depth investigations. The recent audit is
consistent with the results reported in more detail by the Monitoring Team during the August
2016 Public Hearing.

The Monitoring Team continues, on a regular basis, also to review the Department’s patrol
response to Domestic Violence incidents. Monitors review random samplings of Body Worn
Camera footage and police incident reports of domestic violence cases in all eight Districts. The
Monitoring Team follows up on cases reported to be Gone On Arrival (GOA) to determine
whether there was a delay in the police response that may have contributed to the GOA
clearance. In about 15 percent of the cases, the Monitoring Team directs the cognizant District
supervisor to review the same cases as the Monitor to determine whether a re-direction, re-
training or discipline is in order when it is determined that the incident was handled incorrectly
or the responding officer could have done a better job with their response. The Monitoring Team
finds vast improvements in the patrol response since we began reviewing these cases in 2014.
We continue to expect further improvement with in-service training enhancements and the fact
that the policy has now been in place for more than two years.




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XIV. COMMUNITY ENGAGEMENT & COMMUNITY POLICING

       A.      Community Policing Introduction/Overview

As noted in our prior Quarterly Report, in January 2016, NOPD announced a major departmental
restructuring which, among other things, did away with the positions of Community Affairs
Coordinator and Quality of Life Office in an effort to put more patrol officers on the streets.
According to NOPD, the restructuring will involve “becoming a community policing focused
department.”

More recently, NOPD has expressed its community policing vision as follows:

               Community policing will enhance the NOPD’s ability to fulfill our
               mission to provide professional police services to the public in
               order to maintain order and protect life and property. It is a long-
               term, aspirational goal to transform the organization to effectively
               engage the community in every interaction and collaborate with
               the community in efforts to problem-solve and build partnerships,
               as well as utilize procedural justice. Officers will foster positive
               community engagement interactions between citizens and NOPD,
               utilize community policing ideals, create opportunities for
               substantive engagement with the community, substantive
               collaboration with the community as well as civic engagement.

NOPD has made progress with its community policing initiative over the past two quarters, but
still has a ways to go to fully realize its stated vision.

Traditionally, Community Policing has been defined as the philosophy that formulates how
policing is conducted across a department. Community engagement, collaborative problem
solving, and organizational change often are cited as the foundational supports of the philosophy.
While Community Policing is a major feature of the Consent Decree, the Monitoring Team
previously expressed some concern that the Department was focusing on community
engagement at the expense of an across-the-board implementation of a true Community Policing
model designed to change how the Department does business. Part of the Department’s
confusion may have stemmed from how the Consent Decree itself embeds the Community
Policing paragraphs within the overall Community Engagement Section of the Decree (see
Section X; paras 223-233). Consequently, it seemed some within the Department felt (or at least
acted as though) community engagement had to take precedence over Community Policing.

Superintendent Michael Harrison framed Community Policing most appropriately at a February
Status Conference when he defined Community Policing as a “mindset” that must be adopted
across the Department. He also spoke at a PERF Conference in March 2016 where he correctly

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defined cultural change as the “hardest challenge.” Despite challenges, it is apparent to the
Monitoring Team through our various interviews and meetings that this mindset and culture shift
are being reinforced appropriately through a variety of activities involving policy, training,
practices, and transparency.

           •   POLICY

The Police Department’s Operations Manual (Chapter 10.0) defines Community Engagement as
a fundamental policy, and defines how the policy formalizes the Community Engagement and
Policing Program. However, a good example of departmental interest in making change includes
proposed revisions to the Operations Manual, Chapter 10.0, which are currently under review
and which include revising the Manual Chapter Heading to read Community Policing and
Community Engagement. The proposed revisions go beyond revising the order of the words in
the title, though. The current text refers to community engagement as a “Program” in contrast to
a department-wide philosophy. The current text also describes community engagement as any
“non-enforcement practice” that promotes and strengthens partnerships with the community
through active engagement. NOPD worked with the Monitoring Team to expand this somewhat
narrow practice definition by adding other activities including those that “promote and
strengthen community partnerships, engage constructively with the community, ensure
collaborative problem solving, ensure ethical and bias free policing, and increase the demand for
increasing community confidence in the Department.”

The Manual then defined Community Policing as

               a philosophy that promotes organizational strategies which support
               the systematic use of partnerships and problem solving techniques
               to proactively address the immediate conditions that give rise to
               public safety issues such as crime, social disorder and fear of
               crime.

The forthcoming revisions will better capture the philosophy of Community Policing and all it
entails, including community engagement, and will present a less confusing picture of how
Department strategies will reflect Community Policing across the city. Further, the NOPD
Mission Statement now references the Department’s commitment to the philosophy of
Community Oriented Policing and Problem Oriented Policing. All suggest major changes are in
play and indicate that the Department is prioritizing community policing at the policy level.

           •   TRAINING

Another change that is consistent with the policy move from community engagement to
Community Policing involves the Academy; particularly the recent introduction of a new eight-
hour course on Relationship-Based Policing. This training, which uses a scenario-based adult

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learning model, has been integrated into both Recruit and In-Service Training. The course
focuses on building trust and public confidence while sustaining crime fighting partnerships with
the community, and it works on developing skills to engage in collaborative problem solving
partnerships.

Further, there are a number of other Academy courses related to Community Policing, including
Fair and Impartial Policing, Tactical De-escalation, and Attaining Respect, to name just a few.
There also is a separate course called Consent Decree Introduction. In total, in addition to the
Relationship-Based Policing course, Recruit classes will be trained in 17 other courses that are
related to Community Policing, and In-Service participants will be trained in 4 other Community
Policing courses. The introduction of these courses also is consistent with changes that have
taken place at the Academy and which have introduced a professional development model into
police training.

           •   PRACTICES

Central to the Policy and Training initiatives are the community groups in each district that have
been working with the District Commanders and the officers to create stronger problem solving
relationships. Currently, they are preparing to work hand-in-hand with the police in each district
to identify and solve specific problems identified by the particular community as critical to be
solved in ways that go beyond simply arresting perpetrators. These plans are referred to as each
District’s Community Outreach and Public Information Plan and they are different for each
District. The plans are complex, establish priorities that are supported by concerns prioritized by
community members, and develop actionable items that are concrete steps that the District will
take to implement the Community Outreach and Public Information Plan. As such, they include
transparent steps that will be updated monthly. All Districts are preparing to roll out their
Community Outreach Public Information Plans, which include Community Engagement Night
Outs that will provide forums where community members will be encouraged to prioritize their
public safety concerns.

In a separate community initiative, the Department will conduct a series of community focus
groups that will be held across the city. This initiative has been identified as the Department’s
PROMISE Program and was scheduled to begin in April. Aside from problems specific to each
District, these groups will focus more on procedural justice issues across the city and facilitators
will seek input from participants as to what the Department needs to do to ensure procedurally
just and respectful policing. These priorities will be reassessed every 3 to 6 months and the
police will work with the community to see if priorities should be reassessed or new ones
addressed.




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           •   TRANSPARENCY

Beyond what is built into the Consent Decree in terms of evaluation, required community
surveys, data collection, and public reporting supported by the Compliance Bureau, the
Community Plans are another measure of heightened transparency as are the model policies of
the Department. Further, the different community meetings provide an opportunity for
transparency in terms of open discussion, information exchange, and problem solving.

                                               *         *         *

In Summary, at least some of the Department’s initial confusion may have stemmed from the
Consent Decree’s focus on community engagement versus Community Policing. It probably is
worth keeping in mind that, at the time that the Consent Decree was formulated by DOJ, many
events had occurred across the country that had diverted attention from Community Policing,
such as events of September 11, the use of metrics or “policing by the numbers”, and the
development of predictive policing models. In any event, Department’s recent efforts are
properly Community Policing-focused.

The Department’s recent (and ongoing) efforts also are consistent with the findings of the
President’s Task Force on 21st Century Policing, which was formed in response to events across
the country that have exposed serious rifts in trust between police and the communities they
serve. The Task Force organized their recommendations around Six Main “Pillars” with Pillar
Four identified as Community Policing and Crime Reduction. This Pillar presents Community
Policing as a

               philosophy that promotes organizational strategies that support the
               systematic use of partnerships and problem solving techniques to
               proactively address the immediate conditions that give rise to
               public safety issues such as crime, social reflected disorder, and
               fear of crime.

See Task Force Report at 41. This definition is consistent with that provided by the COPS Office
(www.cops.usdoj.gov), and also seems to be consistent with the proposed Community Outreach
and Public Information Plans developed at each NOPD district.

Given the documented changes seen in Policy, Training, Practices, and Transparency throughout
the Department, particularly those involving active collaboration with the community to identify
and solve problems across all Divisions, the Monitoring Team believes the change in Mindset
discussed by Superintendent Harrison is (albeit slowly) gaining momentum across the
Department. While the Department may not yet be at the top of the list of “community policing
departments,” they have come a long way and seem to be continuing to move forward. The
Compliance Bureau has collaborated with the Monitoring Team regarding changes and have

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worked closely to help Divisions reach their goals. Further, they are engaged in continual
evaluation to assess progress and sustained change and, along with the guidance from Drs. Alpert
and Burns, will be most helpful to ensuring that the change in mindset is not short lived, and that
activities to sustain reforms continue to expand and become institutionalized.

As such, the confusion that surrounded much of the Department’s early Community Policing
efforts is at least partly attributable to the Consent Decree’s emphasis and focus on Community
Engagement. However, more recent activities demonstrate that Community Policing is the
predominant philosophy driving the New Orleans Police Department. While the Department still
has work to do to reach all Community Policing compliance goals, as described in greater detail
below, they have made significant progress and show the capacity to continue to move in that
direction.

       B.       Community Policing – Current Progress

To date, NOPD has developed an extensive community policing plan and is working to finalize a
community policing policy that implements that plan. The plan outlines the principles of
community policing, including problem solving, collaborative problem-solving, procedural
justice, and youth engagement. NOPD has provided the Monitoring Team with the following
illustrations of how it intends to implement these core community policing components:

            •   Problem-solving. Through the Department’s MAX7 process, supervisors already
                are being held accountable for how they problem-solve to address issues related to
                crime, investigations, and management. At each MAX meeting, the Deputy
                Superintendent of the Field Operations Bureau is briefed on previous problems
                identified and strategies utilized to address the problems to ensure supervisors are
                implementing problem-solving strategies consistently.

            •   Collaborative problem-solving. One example of how NOPD engages in
                collaborative problem-solving is its community outreach and public information
                effort. NOPD developed district-specific collaborative partnership to solve
                problems faced by the community. Once approved by the Monitoring Team, the
                results of the plan will be incorporated in MAX as described below. .

            •   Procedural Justice. Officers should be treating people with treating people with
                dignity and respect, giving individuals “voice” during encounters, being neutral
                and transparent in decision making, and conveying trustworthy motives. For
                example, officers should introduce themselves on a traffic stop, professionally

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       NOPD stood up its MAX program in October 2016. MAX stands for “Management Analysis for
       Xcellence.” See http://nopdnews.com/post/october-2016/how-did-nopd-create-max/ for NOPD’s
       description of the MAX program.


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              explain why the person was stopped, and articulate any police actions and answer
              any reasonable questions during the encounter, among other responsibilities
              related to procedural justice.

          •   Youth engagement. As part of youth engagement, the school resource officers
              will be the Department’s front-line personnel to collaborate with different entities
              such as the Health Department and community groups to engage youth. In
              addition, NOPD is working to develop a policy on youth engagement to create a
              more strategic and community-focused school resource officer program. Further,
              the NOPD recently announced the creation of a Youth Advisory Council, which is
              intended to create a stronger relationship between the city’s youth and the police
              department.

NOPD’s community policing plan also incorporates several elements to ensure accountability.
According to NOPD, it will measure the effectiveness of its community policing efforts in
several ways:

              First, we are incorporating the results of the District community
              policing plans into MAX. This includes describing the project,
              providing status updates, and including any relevant data to show
              status of the process for each project. Moreover, performance
              evaluations for officers will include an assessment of community
              policing. In addition, the Compliance Bureau’s Audit Unit will
              conduct reviews examining thoroughness of performance
              evaluations, procedural justice, and other components of
              community policing throughout their audit schedule. Finally, other
              measurements of community policing include accountability
              metrics for implementation activities, large surveys such as the
              OCDM biannual survey, the annual NOPD survey, and text-based
              surveys of PCABs and community groups. Outcome measures will
              be derived from the accountability framework for community
              policing.

NOPD also rightly recognizes that training is an integral component of any effective community
oriented policing program. Accordingly, NOPD has developed a new in-service curriculum
focused on teaching and reinforcing the topics in procedural justice, relationship building,
tactical de-escalation, problem-solving, and collaborative problem-solving.

The Monitoring Team has been overseeing and collaborating with NOPD throughout its
development of its Community Policing Plan, and while we continue to be concerned that NOPD
may not be dedicating sufficient resources to such an important topic, we readily acknowledge
the Department’s current aspirations are properly focused. The Monitoring Team recognizes,

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however, that NOPD’s success in transforming the police department into a community-oriented-
policing police department ultimately will have to be measured in years, not months. But at this
point, we now can say we are confident the Department is heading in the right direction. The
success of its efforts, however, will depend on (i) whether NOPD will be able to dedicate
adequate personnel to transform its plan into a department-wide philosophy and (ii) whether
patrol officers will have adequate time to engage with the community in problem solving in a
meaningful way. At the moment, with officers running from call to call, we see little opportunity
for engaging with the community to collaboratively solve problems.




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XV.    BIENNIAL COMMUNITY SURVEY

Paragraph 230 of the Consent Decree requires the completion of a biennial survey of members of
the New Orleans community “regarding their experiences with and perceptions of NOPD and of
public safety.” The Monitoring Team conducted its first survey – which covered police officers,
community members, and detainees – in late 2014 and early 2015. The Monitoring Team
worked closely with the City, NOPD, and the Department of Justice to develop a three-part
survey that would measure public satisfaction with policing, attitudes among police personnel,
and the quality of police-citizen encounters. The surveys were designed to include a
representative sample of City residents, police personnel, and detained arrestees. (CD 231)

The Monitoring Team developed and conducted its follow-up survey in late 2016 and early
2017. The results of the Surveys will be presented in a forthcoming Special Report, due out
early July 2017.




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XVI. ACADEMY AND IN-SERVICE TRAINING

While the NOPD Academy continues to make progress toward transforming itself into a
professional institution, and while the Academy’s current management clearly are leading the
Academy in that direction, the Monitoring Team continues to have concerns regarding the pace
of change and our inability to fully evaluate quality in the absence of some course materials.

One area of particular concern is the ongoing lack of approved lesson plans. As just one very
recent example, the Academy scheduled supervisory in-service training in early March. When
the Monitoring Team showed up to observe the training, we were told the course had been
postponed because only one lesson plan had been prepared. Other courses likewise still are
operating without approved lesson plans.

Last quarter, at the request of the Court, the Monitoring Team initiated an expanded effort to
provide Technical Assistance to the Academy. Through this effort, which we refer to as a
“Bottom’s Up Approach,” the Monitoring Team has partnered with the various members of the
Academy to support the review and revision of curricula, lesson plans, and teaching materials.
To date, the Monitoring Team has approved multiple lesson plans, but there is much work left to
do in this area.

Notwithstanding the slow progress in this area, as we reported to the Court at a recent status
conference, the Monitoring Team remains quite pleased with the cooperation we receive from
Academy personnel since the initiation of the Bottom’s Up Approach as well as the commitment
to reform we continue to receive from Academy management. We are confident the Academy is
heading in the right direction albeit more slowly than we (and probably they) would like.8




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       While not reviewed in detail this reporting period, the Monitoring Team remains concerned with the
       resources the City has made available to the Academy. The absence of an NOPD firing range, outdated
       technology, limited equipment, and, until recently, an outdated building all present obstacles to the ongoing
       efforts by NOPD, Academy personnel, the DOJ, and the Monitoring Team to transform the Academy into a
       world-class institution. The Monitoring Team’s next report will provide a more detailed discussion of
       these ongoing concerns.


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XVII. SUPERVISION

       A.      Supervision Generally

The Monitoring Team continues to conduct regular audits and reviews of NOPD’s compliance
with the supervision requirements of the Consent Decree. Among other things, we continue to
conduct regular audits of each District’s compliance with the Consent Decree’s Custodial
Interrogation, Photographic Line-up, and Supervision requirements. The results of these reviews
show improvements in most every district.

The two areas that continue to require further attention by NOPD are (1) finding a way to give
supervisors time to actually supervise, and (2) teaching supervisors how to use the Department’s
new Insight system to supervise effectively. As the Monitoring Team has noted in the past, the
number of responsibilities of supervisors and the previously-inadequate focus on efficiency
combine to make it extremely difficult for even the best supervisors to find time to closely and
effectively supervise their officers. Further, as described elsewhere in this report, while the new
Insight early warning system offers great new tools to facilitate close and effective supervision,
if supervisors are not sufficiently trained on how to take advantage of those tools, NOPD’s
efforts to achieve full compliance with its Supervision obligations will continue to lag.

       B.      Supervisory Duties and Related Items

               1.         Paragraph 306

Paragraph 306 of the Consent Decree provides that “NOPD supervisors shall be held accountable
for providing the close and effective supervision necessary to direct and guide officers.” The
Consent Decree goes on to define close and effective supervision as including the following:

       •       Responding to the scene of certain arrests;

       •       Reviewing each arrest report;

       •       Responding to the scene of uses of force as required by this Agreement;

       •       Investigating each use of force (except those investigated by FIT);

       •       Reviewing the accuracy and completeness of officers’ Daily Activity Reports;

       •       Responding to each complaint of misconduct;

       •       Ensuring that officers are working actively to engage the community and increase
               public trust and safety; and


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       •        Providing counseling, redirection, and support to officers as needed, and that
                supervisors are held accountable for performing each of these duties.

As summarized below, NOPD demonstrated either full or partial compliance with the following
items this audit period:

                         3D                    4D                    5D                    6D              7D

  Respond to        Compliant               Partial             Compliant             Compliant         Compliant
   Arrests

   Review           Compliant             Compliant             Compliant             Compliant         Compliant
   Arrests

 Review Daily         Partial            Compliant             Compliant             Compliant          Compliant
   Activity

 Respond to        Compliant                Partial            Compliant                Partial         Compliant
 Complaints

 Investigate       Compliant             Compliant             Compliant                COMP            Compliant
 Complaints

  Engage              Partial               Partial               Partial               Partial          Partial
 Community

   Provide         Compliant             Compliant                Partial            Compliant          Compliant
   Counsel

  Provide          Compliant             Compliant                Partial            Compliant          Compliant
 Redirection

   Provide            Partial               Partial            Compliant             Compliant          Compliant
   Support



Some of the reasons for some of the partial compliance scores noted above include trip sheets
from General Assignment officers not available for review by the Monitoring Team, the absence
of evidence that some supervisors actively prompt officers to engage in community policing, and
the absence of evidence of community policing and/or community engagement. While some
districts were able to provide evidence of several commendable community events, often these
events were organized by the same officers. Several Districts were unable to provide evidence


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that all or at least most supervisors were actively working to ensure their officers meaningfully
engage with the Community. We should note here, however, that the NOPD’s forthcoming
Community Policing program likely will help remedy this compliance gap.

                 2.         Paragraph 307

Paragraph 307 provides that “all Field Operations Bureau District officers (including patrol, task
force, district investigative, and narcotics units) shall be assigned to a single, consistent, and
clearly-defined supervisor.” The Districts audited this period demonstrated either full or partial
compliance with the obligations under paragraph 307, as summarized below:

                             3D                    4D                    5D                    6D              7D

    Patrol              Compliant             Compliant             Compliant             Compliant         Compliant

   General                 Partial            Compliant            Substantial              Partial         Compliant
 Assignments                                                       Compliance

 Investigators         Compliant             Compliant             Compliant                Partial         Compliant



                 3.         Paragraph 308

Paragraph 308 provides that “task force and narcotics supervisors shall actually work the same
days and hours as the officers they are assigned to supervise absent unusual circumstance or
when the supervisor is on vacation, in training, or ill.” Paragraph 308 goes on to provide that
“Investigative unit supervisors shall work generally the same days and hours as the officers they
are assigned to supervise, taking into account that shift differences will not permit complete
supervisory overlap.”

                             3D                    4D                    5D                    6D              7D

   General                 Partial              Non-                  Partial               Partial         Compliant
 Assignments                                  Compliant

 Investigators            Partial            Compliant                Partial               Partial          Partial



The Fourth District was not in compliance this audit period because the General Assignment
sergeant in the Fourth District works with one-half of his subordinate officers and the other one-
half report to other supervisors when he is not scheduled to work.

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               4.         Paragraph 309

Paragraph 309 provides that “District Platoon Patrol supervisors shall be assigned to the same
platoon as the officers they supervise and shall actually work the same days and hours as the
officers of that platoon absent unusual circumstances or when the supervisor is on vacation,
training, or ill.” The Districts we reviewed this period were fully compliant with this
requirement.

               5.         Paragraph 310

Paragraph 310 provides that “first-line patrol supervisors shall be assigned to supervise no more
than eight officers.” The paragraph goes on to provide that “on duty patrol supervisors shall be
available throughout their shift to respond to the field to provide supervision to officers under
their direct command and, as needed, to provide supervisory assistance to other units.” The
Districts we reviewed this period were able to demonstrate either full compliance (the 4th and the
5th districts) or partial compliance (the 3rd, 6th, and 7th districts).

               6.         Paragraph 311

Paragraph 311 requires NOPD “to develop and implement a program to identify and train acting
patrol supervisors who can fill-in, on a temporary, as-needed basis, for assigned supervisors who
are on vacation, in training, ill, or otherwise temporarily unavailable.” The paragraph further
requires NOPD to “ensure consistent supervision by acting supervisors for supervisors who are
on extended leave, and shall reassign officers to a new permanent non-acting supervisor when
the currently assigned supervisor has been or is expected to be absent for an extended period of
over six weeks.” NOPD continues to be Not In Compliance with this paragraph. The Training
Academy, for example, has not developed training or trained any personnel as acting patrol
supervisors. Further, no program currently exists to identify and train acting patrol supervisors
who can fill-in for assigned supervisors.

               7.         Paragraph 312

Paragraph 312 provides that “District commanders and platoon lieutenants shall be responsible
for the close and effective supervision of officers under their command.” Paragraph 312 further
requires that “all NOPD commanders and platoon lieutenants shall ensure that all subordinates
under their direct command comply with NOPD policy, state and federal law, and the
requirements of this Agreement.” Little evidence was provided during the Monitoring Team’s
audit that supervisors were routinely meeting the obligations under this paragraph. NOPD, thus,
is not yet in compliance with its obligations under Paragraph 312.




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               8.         Paragraph 313

Paragraph 313 provides that “NOPD shall hold commanders and supervisors directly
accountable for the quality and effectiveness of their supervision, including whether commanders
and supervisors identify and effectively respond to misconduct, as part of their performance
evaluations and through non-disciplinary corrective action, or through the initiation of formal
investigation and the disciplinary process, as appropriate.”

The Monitoring Team’s audit identified very few documents that provided evidence supervisors
were held accountable for performing their duties. Supervisors’ reports generally did not include
information concerning orders relayed from higher authority, direction to officers regarding
engagement of the public, or discipline. Supervisors’ and officers’ performance evaluations
generally were not available and few disciplinary reports were available.

Neither were the performance evaluations we reviewed adequate to assess supervisors’
performance. Generally, the evaluations did not include a section to evaluate “whether
commanders and supervisors identify and effectively respond to misconduct, as part of their
performance evaluations” as required by paragraph 313 of the consent decree. The Department,
thus, is not yet in compliance with its obligations under Paragraph 313.

               9.         Paragraph 314

Paragraph 314 requires NOPD “to develop and implement mandatory supervisory training for all
new and current supervisors.” The paragraph further provides that supervisors shall receive 200
hours of mandatory supervisory training within two years of the Effective Date; that all officers
becoming supervisors within two years of the Effective Date shall receive 160 hours of initial
supervisory training before assuming supervisory duties; that all officers becoming supervisors
after two years of the Effective Date shall receive 80 hours of initial supervisory training before
assuming supervisory duties; and that each supervisor to complete at least 40 hours of
supervisor-specific training annually thereafter.

NOPD demonstrated partial compliance with its obligations under Paragraph 314. For example,
NOPD has developed and implemented mandatory supervisory training for all new and current
supervisors. The lesson plans for this training, however, have not been provided for review.

The Department was able to demonstrate full compliance with its obligations to provide
sergeants promoted since April 2014 160 hours of supervisory training and its obligation to
provide sergeants promoted since April 2014 received at least 80 hours of supervisory training.
In other areas, however, NOPD may be in compliance, but the Department was unable to provide
documentation of compliance.



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               10.     Paragraph 315

Paragraph 315 provides that “NOPD’s supervisory training program shall include instruction in
several enumerated topics, including techniques for effectively guiding and directing officers,
and for promoting effective and ethical police practices.” While the Department’s supervisory
training schedule lists ethics as a one and one-half hour training session, a lesson plan was not
available to determine whether the ethics training was designed for guiding and directing officers
and for promoting effective and ethical police practices. Similarly, while the Academy informed
the Monitoring Team that the necessary subject matter was included in the police issues and
ethics course provided in 2015, again, a lesson plan has not been provided.

With regard to de-escalating conflict training, report writing, and investigations into uses of
force, use of supervisory tools, burdens of proof, interview techniques, and several others, the
Department was unable to demonstrate compliance because it still is unable to provide a
compliant lesson plan.

Specifically with regard to EWS (Insight) training, the Department is not yet in compliance with
its training obligations. The Monitoring Team attended the Department’s Insight course, which
did not incorporate the required materials. Furthermore, a lesson plan has not been produced yet.

       C.      The Insight Early Warning System

An Early Warning System (“EWS”), also called an Early Intervention System, “is a data-based
management tool designed to identify officers whose performance exhibits problems, and then to
provide interventions, usually counseling or training, to correct those performance problems.”
DOJ COPS Report (Early Intervention Systems for Law Enforcement Agencies) (2003).
Paragraph 316 of the Consent Decree requires the City and NOPD “to develop, implement, and
maintain an [early warning system] to support the effective supervision and management of
NOPD officers and employees, including the identification of and response to potentially
problematic behaviors as early as possible.” The Consent Decree further requires NOPD “to
regularly use EWS data to promote constitutional and professional police practices; to manage
risk and liability; and to evaluate the performance of NOPD employees across all ranks, units,
and shifts.” Id.

The Monitoring Team audits NOPD’s various districts on a monthly or bi-monthly basis,
focusing on a variety of Consent Decree compliance areas. Since our last Quarterly Report, we
audited every district at least once. Our most recent audit took place in January 2017 and
covered Districts 3, 4, 5, 6, 7, and SOD, and focused on NOPD’s compliance with the Early
Warning System elements of the Consent Decree. We also met with and evaluated Headquarters
personnel. A summary of our findings follows.



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               1.         EWS Status Overview

NOPD has demonstrated an impressive commitment to designing, developing, and rolling out an
effective early warning system. Development of the system, called Insight, has been a massive
undertaking, and NOPD deserves significant credit for keeping the project on target, on budget,
and on schedule. While our audits identified a need for further EWS training for NOPD
supervisors and identified areas for system improvements, those findings should not take away
from the impressive work undertaken to date.

               2.         EWS Specific Findings9

                          a.          Paragraph 316

Paragraph 316 requires the City and NOPD to “develop, implement, and maintain an EWS to
support the effective supervision and management of NOPD officers and employees, including
the identification of and response to potentially problematic behaviors as early as possible.
NOPD will regularly use EWS data to promote constitutional and professional police practices;
to manage risk and liability; and to evaluate the performance of NOPD employees across all
ranks, units, and shifts.” The NOPD has made progress in each of these areas, but more work
needs to be done.

                                         Identify &   Use EWS Data                    Use EWS Data
                                                                       Use EWS Data
                        Develop &       Respond to     to Promote                      to Evaluate
                                                                        To Manage
                       Maintain EWS     Problematic   Constitutional                    Employee
                                                                           Risk
                                         Behaviors       Policing                     Performance
                         Compliance


                                         Compliance


                                                         Compliance


                                                                         Compliance


                                                                                         Compliance
                           Partial


                                           Partial


                                                           Partial


                                                                           Partial


                                                                                           Partial




In all fairness to NOPD, the Monitoring Team would not expect any more than “Partial
Compliance” from the Department at this point. The Insight system came on-line only recently,
and its full functionality and full use necessarily will take some time.

9
       The following sections present illustrative findings. For purposes of brevity, we have not presented the
       Monitoring Team’s findings for each subsection of each paragraph. That detail, however, has been
       provided to NOPD to facilitate the Department’s ongoing efforts to achieve full and sustained compliance
       with all elements of the Consent Decree.


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                        b.               Paragraph 317

Paragraph 317 requires the City and NOPD “to create a plan for the implementation of the EWS,
which shall include the hiring of at least one full-time-equivalent qualified information
technology specialist within 270 days of the Effective Date, to facilitate the development,
implementation, and maintenance of the EWS.” The City and NOPD further must “maintain
sufficient staffing to facilitate EWS data input and provide training and assistance to EWS
users.” NOPD is compliant with certain elements and partly compliant with other elements of
Paragraph 317. For example:

                       Create EWS                                   Maintain
                                             Hire Full-Time IT                     Maintain Suffient
                     Implementation                              Sufficient Data
                                                 Specialist                         Training Staff
                          Plan                                    Input Staffing




                                                                   Compliance


                                                                                      Compliance
                             Compliant


                                                   Compliant


                                                                     Partial



                                                                                        Partial

The Monitoring Team has raised its training concerns with NOPD and is working with the
Department to ensure all supervisors are fully trained in Insight’s capabilities and in how
effectively to apply those capabilities.

                        c.               Paragraph 318

Paragraph 318 requires the City and NOPD to “develop and implement a protocol setting out
which fields shall include historical data; the historical start date for each field; deadlines for
inputting data related to current and new information; and the individuals responsible for
capturing and inputting data. NOPD is not expected to include any historical data prior to
January 1, 2006.” NOPD is in full compliance with this paragraph.




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                                                                                                          Include Required
                                                    Develop Historical
                                                                                                             Elements In
                                                      Data Protocol
                                                                                                               Protocol




                                                     Compliant                                               Compliant



The protocols developed by NOPD are consistent with the Consent Decree and properly aimed at
creating an effective early warning system.

                                               d.      Paragraph 319

Paragraph 319 required the City and NOPD “to develop and implement a protocol for using the
EWS and information obtained from it.” “The protocol for using the EWS shall address data
storage, data retrieval, reporting, data analysis, pattern identification, identifying officers for
intervention, supervisory use, supervisory/departmental intervention, documentation and audit.”
NOPD is in Partial Compliance with these requirements. For example:

         Include                                      Quarterly                                         Supervisor               Involve Mental
                                                                              Development                                                         Secure EWS
      Comparative       Regular                      Supervisor                                         Reviews of                   Health
                                                                               of Array of                                                          Data To        Document
      Data and Peer    Supervisor                     Review of                                        Effectiveness               Professions
                                                                              Intervention                                                          Ensure       Interventions
          Group         Review                      Pattern-Based                                            of                       Were
                                                                                Options                                                            Integrity
        Analysis                                       Reports                                         Interventions               Necessary
                          Partial Compliance



                                                         Partial Compliance



                                                                                  Partial Compliance



                                                                                                            Partial Compliance
           Compliant




                                                                                                                                      Compliant



                                                                                                                                                     Compliant



                                                                                                                                                                      Compliant




The Monitoring Team maintains regular contact with NOPD personnel charged with developing
NOPD’s early warning system, and will continue working with NOPD to ensure effective
implementation and use of Insight.


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                                            e.            Paragraph 320

Paragraph 320 sets out the data to be included in NOPD’s EWS. The Consent Decree requires
that the EWS “include a computerized relational database, which shall be used to collect,
maintain, integrate, and retrieve a multitude of data.” The Monitoring Team reviewed whether
the data were available AND whether supervisors were able to locate the data. In most cases, the
required data were included in the EWS, but in several cases supervisors were not able to access
the data. Accordingly, NOPD is in compliance with some, but not all of the Consent Decree
requirements. For example:


                                                                         Loss/Theft Of                             Motion To
 All Uses of    ECW Units In          Canine Officer      Misconduct                                Firearms                           Judicial              Vehicle                In-Custody
                                                                            NOPD                                   Suppress
   Force           Use                  Bit Ratios        Complaints                              Qualifications                     Proceedings             Pursuits                 Injuries
                                                                          Equipment                                Evidence




                                                                                                                                        Partial Compliance


                                                                                                                                                               Partial Compliance
                    Not Compliant


                                          Not Compliant




                                                                             Not Compliant




                                                                                                                     Not Compliant




                                                                                                                                                                                       Not Compliant
    Compliant




                                                             Compliant




                                                                                                      Compliant




NOPD is aware of the areas in which it is not yet compliant, and has committed to work
diligently to bring itself into compliance in these areas in short order. The Monitoring Team will
continue to monitor the Department’s progress in these areas.

                                            f.            Paragraph 321

Paragraph 321 requires that NOPD’s Insight system “include appropriate identifying information
for each involved employee (i.e., name, badge number, shift, and supervisor) and civilian (e.g.,
race, ethnicity, and gender). NOPD is in compliance with this paragraph.

                                                                                             EWS Includes
                                                                                               Identifying
                                                                                              Information




                                                                                         Compliant




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                       g.        Paragraph 322

Paragraph 322 requires the City and NOPD “to maintain computer hardware, including servers,
terminals, and other necessary equipment, in sufficient amount and in good working order to
permit personnel, including supervisors and commanders, ready and secure access to the EWS
system to permit timely input and review of EWS data as necessary to comply with the
requirements of this Agreement.” NOPD is in compliance with these requirements.

                                               Ensure Ready and             Permit Timely
                    Maintain Sufficient
                                                Secure Access to          Input And Review
                      IT Hardware
                                                     EWS                     of EWS Data




                       Compliant                 Compliant                  Compliant




                       h.        Paragraph 323

Paragraph 323 requires NOPD to “maintain all personally identifiable information about an
officer included in the EWS for at least five years following the officer’s separation from the
agency except where prohibited by law.” Paragraph 323 further requires that “information
necessary for aggregate statistical analysis will be maintained indefinitely in the EWS, [and that]
on an ongoing basis, NOPD will enter information into the EWS in a timely, accurate, and
complete manner, and shall maintain the data in a secure and confidential manner.” Finally,
Paragraph 323 provides that “no individual within NOPD shall have access to individually
identifiable information that is maintained only within the EWS and is about an officer not
within that individual’s direct command, except as necessary for investigative, technological, or
auditing purposes.” NOPD is mostly in compliance with these obligations.




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                                                          Enter EWS      Limit Access
                                          Maintain
                    Maintain PII                         Data Timely,    to EWS Data     Maintain Data
                                         Compliance
                     For Five                            Accurately,      Except for     Securely and
                                            Data
                       Years                                 and            Certain      Confidentially
                                         Indefinitely
                                                         Completely        Purposes




                                                          Compliance




                                                                                              Compliance
                        Compliant


                                             Compliant




                                                                             Compliant
                                                            Partial
The only reason NOPD receives a “Partial Compliance” in one area is because, as noted above,
the Insight system is not yet populated with all data required by the Consent Decree.

                       i.             Paragraph 324

Paragraph 324 requires that the “EWS computer program and computer hardware will be
operational, fully implemented, and used in accordance with policies and protocols that
incorporate the requirements of [the Consent Decree] pursuant to an interim schedule that
includes full implementation within three years of the Effective Date.” Paragraph 324 goes on to
require that, prior to full implementation of the new EWS, “NOPD will continue to use existing
databases and resources to the fullest extent possible, to identify patterns of conduct by
employees or groups of officers.”

                                                                 Use Existing Databases
                                    Full Implementation
                                                                  To Identify Patterns



                                       Partial
                                                                        Compliant
                                     Compliance



While, as noted above, NOPD has made significant progress, the Monitoring Team’s audit
revealed some District Supervisors still are unable to locate some required information. Further,
our audits revealed the need for additional supervisor training regarding how to use Insight.
Finally, while much of Insight is populated with required data, some required information has yet
to be included.


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                          j.        Paragraph 325

Paragraph 325 requires that NOPD “provide in-service training to all employees, including
officers, supervisors, and commanders regarding EWS protocols prior to its implementation, as
required to facilitate proper understanding and use of the system.” The paragraph further
requires that “NOPD supervisors shall be trained in and required to use the EWS to ensure that
each supervisor has a complete and current understanding of the employees under the
supervisor’s command.” Finally, the paragraph provides that “Commanders and supervisors
shall be trained in evaluating and making appropriate comparisons in order to identify any
significant individual or group patterns.” NOPD is in partial compliance with these obligations.

                                                        Basic                  Supervisory
                            In-Service
                                                     Supervisory               Training To
                             Training
                                                      Training               Identify Patterns




                            Partial                    Partial                   Partial
                          Compliance                 Compliance                Compliance




In short, while training has been provided, additional training is necessary so that supervisors
have a complete understanding of EWS, when it is to be used and the purpose of its use
including performance evaluations.

               2.         Insight EWS Summary: Areas For Further Improvement

While NOPD has made significant progress and the Insight system holds great promise, the
Department now must focus its efforts on effectively training its supervisors to take advantage of
the wealth of information contained in Insight. NOPD’s training efforts should take into
consideration the following Monitor Team findings:

       •       Some supervisors are not aware that PIB information from one district followed
               the officer to another District when the officer was transferred.

       •       Some supervisors are unable to locate some information in EWS. This included
               interviews and interrogations in violation of NOPD policy, declination to
               prosecute due to officer credibility, disciplinary actions, non-disciplinary actions,
               and sick leave.

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       •       Some supervisors were unable to use Insight to provide a list of all subordinates.

       •       Some supervisors had not reviewed all subordinates’ information.

       •       Some supervisors were not aware if subordinates had reviewed their information.

       •       Some supervisors had not reviewed the information with subordinates to
               determine if it is correct.

       •       Some supervisors only located some information after searching when monitored
               by the Monitoring Team. This included criminal proceedings, civil proceedings,
               and restraining orders.

       •       Some supervisors were unaware of periodic checks of EWS information regular
               reviews of information that had to be at least quarterly.

       •       Some supervisors stated they had not viewed any unusual activity. No training has
               been provided to identify unusual activity.

       •       Most supervisors could not explain how to “identify patterns of conduct” as
               required in paragraph 324.

       •       Supervisors need additional training to understand how to process an alert. Instead
               of reviewing only the information contained in the alert, a proper review should
               also include other officer activity to determine if a trend is developing (For
               example, if a citizen complaint is the cause for an alert, the supervisor should be
               reviewing all citizen complaints, use of force in comparison with the officer’s
               peer group, sick time, counseling, discipline, and other important indicators.

       •       Supervisors, when handling alerts, are reviewing the information in that alert and
               answering the questions related to the alert. Most do not review other officer
               information while addressing the alert. This is something supervisors should do.

       •       More training is necessary so that supervisors understand the purpose of EWS and
               its use with quarterly reviews and completion of performance evaluations.

       •       Training should be provided to instruct supervisors to document the periodic
               reviews, conducted at least quarterly, of Insight information.

Our audits also identified a need for additional effort on the part of NOPD to include certain
categories of data in the Insight system.


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That being said, and as noted above, the Department’s efforts designing, developing, and rolling
out its EWS system have been impressive. The Insight system holds great promise for the
Department and the Community.

       D.      Supervision: Visual and Audio Documentation of Police Activities

The Monitoring Team conducted a periodic Supervision audit of Districts 3 and 6 during the
week of January 3, 2017 and of Districts 4, 5, 7, and SOD during the week of January 30, 2017.
A summary of our findings follows.

               1.         Paragraph 327

Paragraph 327 requires NOPD, among other things, to “maintain and operate video cameras and
AVL in all marked or unmarked vehicles that are assigned to routine calls for service, task
forces, tactical units, prisoner transport, or SOD canine and shall repair or replace all non-
functioning video cameras or AVL units, as necessary for reliable functioning.”10 The paragraph
also requires NOPD “to ensure that recordings are captured, maintained, and reviewed as
appropriate by supervisors, in addition to any review for investigatory or audit purposes, to
assess the quality and appropriateness of officer interactions, uses of force, and other police
activities.” NOPD continues to make significant progress meeting these requirements.

The following tables reflects the results of our audit of operable in-car cameras:

                    District                    No. Vehicles          No. Operable              Percentage
                                                                       Cameras                   Operable
                                                                                                 Cameras

        D3                                    20                      18                    90%
        D4                                    24                      24                    100%
        D5                                    14                      14                    100%
        D6                                    24                      24                    100%
        D7                                    19                      19                    100%
        SOD                                   20                      18                    90%


The Monitoring Team’s audits also assessed whether NOPD’s vehicles are equipped with
operable AVL (automatic vehicle locator) capabilities. NOPD demonstrates full compliance
with its AVL obligations this period.



10
       An AVL is an Automatic Vehicle Locator.


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              2.         Paragraph 328

Paragraph 328 provides that “NOPD agrees to develop and implement policies and procedures
regarding AVL, in-car cameras, ECWs, and similar equipment. . . .” NOPD demonstrated
substantial compliance with this requirement during this audit period with one exception noted
below. The areas in which NOPD is in compliance include the following:

       •      NOPD developed and implemented policies and procedures regarding, in-car
              cameras that require activation of in-car cameras for all traffic stops and pursuits
              until the motor vehicle stop is completed and the stopped vehicle departs, or until
              the officer’s participation in the motor vehicle stop ends. COMPLIANT

       •      NOPD developed and implemented policies and procedures regarding activation
              of in-car cameras, where vehicle is so-equipped, to record requests for consent to
              search a vehicle, deployment of drug- detection canines, and vehicle searches.
              COMPLIANT

       •      NOPD developed and implemented policies and procedures regarding activation
              of in-car cameras for incidents in which a prisoner being transported is violent or
              resistant. COMPLIANT

       •      NOPD developed and implemented policies and procedures regarding supervisors
              to review in-car camera recordings of all officers listed in any NOPD report
              regarding any incident involving injuries to a prisoner or an officer, uses of force,
              vehicle pursuits, or misconduct complaints. COMPLIANT

       •      NOPD supervisors review recordings regularly. COMPLIANT

       •      NOPD officer promptly notify supervisors where an event was not recorded.
              COMPLIANT

The one area that still needs additional NOPD attention relates to supervisors incorporating the
knowledge gained from the review of recordings into their ongoing evaluation and supervision of
officers. NOPD currently maintains no documentation to provide evidence of compliance with
this provision. Performance evaluations do not include this field and the performance
evaluations reviewed do not include this information.

              3.         Paragraph 329

Paragraph 329 obligates NOPD “to develop and implement a schedule for testing AVL, in-car
camera, and ECW recording equipment to confirm that it is in proper working order.” The
paragraph provides further that “[o]fficers shall be responsible for ensuring that recording

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equipment assigned to them or their car is functioning properly at the beginning and end of each
shift and shall report immediately any improperly functioning equipment.”

NOPD has developed and implemented a schedule for testing AVLs. In fact, the Districts we
audited this period (3, 4, 5, 6, 7 and SOD) conduct daily tests of equipment. The Monitoring
Team likewise found NOPD to be in compliance with the other elements of Paragraph 329.
Thus, for the period audited, NOPD is in Full Compliance with its obligations under Paragraph
329.

               4.         Paragraph 330

Paragraph 330 provides that “supervisors shall be responsible for ensuring that officers under
their command use in-car camera recording equipment, AVL equipment, ECW cameras, and
similar equipment, as required by policy. Supervisors shall report equipment problems and seek
to have equipment repaired as needed. Supervisors shall refer for investigation any officer found
to fail to properly use or care for in-car camera recording, AVL, ECW camera, or similar
equipment.” NOPD was able to demonstrate full compliance with its obligations under
Paragraph 330 this period.

               5.         Paragraph 331

Paragraph 331 requires NOPD “to provide each supervisor with handheld digital recording
devices and require that supervisors use these devices to record complainant and witness
statements taken as part of use of force or misconduct complaint investigations.” The Districts
we audited this period were in full compliance with this requirement.




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XVIII. AGREEMENT IMPLEMENTATION AND ENFORCEMENT

       A.      Coordination with IPM (CD 459)

The Consent Decree provides the Monitoring Team shall coordinate and confer with the
Independent Police Monitor. (CD 459) The Monitoring Team continues to be impressed by the
passion, dedication, and impact of the IPM; and recognizes the respect the organization has within
the New Orleans community. The Monitoring Team remains pleased with and grateful for the
level of cooperation it receives from the IPM.

       B.      NOPD Consent Decree Implementation Unit (CD 467)

Paragraph 467 of the Consent Decree provides that the City and NOPD will “hire and retain, or
reassign current NOPD employees to form, an inter-disciplinary unit with the skills and abilities
necessary to facilitate implementation” of the Consent Decree. The Consent Decree goes on to
explain this unit “will serve as a liaison between the Parties and the Monitoring Team and will
assist with the implementation of and compliance with this Agreement.”

As noted in the Monitoring Team’s prior reports, “a fully functioning, adequately staffed, and
properly resourced Consent Decree Implementation Unit is a critical component of NOPD’s
ability to come into compliance with the terms of the Consent Decree.” NOPD has been in
compliance with its obligations under paragraph 467 since 2014 when it fully staffed the Consent
Decree Implementation Unit. The Monitoring Team continues to be pleased by the Unit’s
knowledge, skill level, and demonstrated commitment to the Consent Decree process; and
recognizes the full cooperation it continues to receive from the Unit.

       C.      NOPD and City Cooperation (CD 470 – 476)

The Consent Decree provides the City and NOPD shall fully cooperate with the Monitoring
Team in all aspects of its responsibilities. We are pleased to report that the City and NOPD
continued to cooperate with the Monitoring Team throughout this reporting period. The level of
cooperation we received from the Superintendent and his leadership team is worthy of particular
note here. Superintendent Harrison, Chief Noel, Chief Thomas, Chief Westbrook, Chief Murphy,
Commander Eckert, Commander Goodly, Dr. Magee, and many others all continue to play a
critical role in implementing the reforms of the Consent Decree and in ensuring their respective
teams work closely with the Monitoring Team. The Department would not have made the
progress it has made so far without their leadership.

The Monitoring Team also continues to receive the full cooperation of and continues to work
closely with the New Orleans Office of Inspector General (“OIG”). While the OIG’s activities
do not fall within our monitoring responsibilities under the Consent Decree, the OIG has kept us
apprised of its audit plans and investigators as they relate to the NOPD. We continue to be

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impressed by the quality of the OIG personnel with whom we work and with the quality and
thoroughness of the OIG’s work product. The Monitoring Team looks forward to an ongoing
positive relationship with the OIG.




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XIX. CONCLUSION

        As noted at the outset of this Report, the New Orleans Police Department has made great
progress over the past two years in meeting its obligations under the Consent Decree. This
progress has been driven by numerous facts, including support, guidance, and pressure from an
active federal judge overseeing NOPD’s progress, assistance from a supportive Department of
Justice team with extensive experience in police reform, and extensive technical assistance from
a Monitoring Team that firmly believes the best results come from collaboration rather than
combat. But as much as this support has helped guide NOPD forward, it all would be for naught
if NOPD didn’t have an innovative, open-minded, and energetic leadership team committed to
reform. As we have said previously, while NOPD’s progress has hit roadblocks from time to
time, and while the Department continues to face hurdles, the Department’s current management
continues to impress the Monitoring Team. Likewise, the bulk of the Department’s current
supervisors and patrol officers with whom we regularly deal also seem committed to reform. As
one officer put it to us recently, “I just want to work for a Department I can be proud of. And
we’re getting there.” We heartily agree.




                                     Office of the Consent Decree Monitor
                 Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
